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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                 Case No. 17-cv-24127-DPG

  NLG, LLC,

         Defendant/Appellant
  v.

  SELECTIVE ADVISORS GROUP, LLC, and
  LIZA HAZAN a/k/a ELIZABETH HAZAN,

         Plaintiffs/Appellees
                                               /

        NLG REPLY TO APPELLEES’ OPPOSITION [ECF NO. 77] TO MOTION FOR
         RELIEF FROM ORDER DISMISSING APPEAL [EFC NO. 74] OR, IN THE
       ALTERNATIVE, MOTION FOR LEAVE TO APPEAL AND REINSTATMENT OF
                                  APPEAL

         Appellant NLG, LLC (“NLG”), through undersigned counsel, hereby files its Reply to

  Appellees’ Opposition [ECF No. 77] to Motion for Relief from Order Dismissing Appeal (the

  “Dismissal Order”) [ECF No. 74] pursuant to FRCP 59(e) and 60(b)(5) or in the alternative

  Motion for Leave to Appeal pursuant to 28 U.S.C. § 158(a)(3) and reinstatement of appeal [ECF

  No. 75] and states as follows:

         There is new evidence which was unavailable at the time that NLG filed its motion for

  relief and that is the September 20, 2018 hearing before Judge Cristol. [See Transcript, ECF No.

  78]. He confirmed what NLG had represented to this Court about the Final Judgment:

                 THE COURT: Well, initially I was under the impression that those matters
         that were sent up on appeal were a final order. However, it's always wonderful
         when a district judge educates me on my errors, and apparently, according to
         Judge Gayles, the decision wasn't a final order. Ultimately, those issues are going
         to be appealed, and the question is whether it's worthwhile to certify them and
         send them up separately now, or whether to send the case over to the District
         Court to try those -- five more counts or six counts? [Exhibit 1 page 19 starting at
         line 7]
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             Judge Cristol further stated:

                      THE COURT: …But I do believe that in any event, those counts will
             have to go to the District Court for trial, not trial here, since it's been pointed out
             that I cannot enter a final judgment on them. [See Exhibit 1 page 20 starting at
             line 3].

             It should not be abundantly clear that Judge Cristol intended to enter a final judgment and

  in his mind he thought that he entered a final and appealable judgment when he entered the

  November 1, 2017 Final Judgment under appeal herein.

             At the end of the hearing, Judge Cristol asked the parties to submit proposed findings and

  conclusions by October 11, 2018, while making it clear that he would not sign any order until

  Judge Williams ruled on the pending motion to withdraw the reference pending in front of her.

  Thus, Judge Cristol is waiting for Judge Williams and NLG’s appeal is being thwarted because

  Judge Cristol did not specifically state that there was no reason for delay under Rule 54(b) and

  the Final Judgment of November 1, 2017, was immediately appealable.

             In its Response, plaintiffs argue that NLG should have raised this issue initially and

  requested that Judge Cristol certify appealability under Rule 54(b), forgetting that they were the

  ones arguing vehemently that the Final Judgment was final -- until this Court reinstated the

  appeal. There is no doubt after the hearing on September 20, 2018, that Judge Cristol intended to

  sever the six non-core counts because NLG did not consent to the entry of a final judgment on

  those counts and he believed “those counts will have to the District Court for trial, not trial

  here.” 1




  1
    In footnote 2 of their Response, the plaintiffs argue that “Judge Cristol nowhere suggested that the remaining
  claims would need to be tried in the district court.” In fact, Judge Cristol did precisely that at the hearing on
  September 20, 2018.
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         This Court can eliminate a great deal of legal posturing and interpret Judge Cristol’s Final

  Judgment as he intended it: to effectuate a severance, as opposed to a bifurcation, such that Rule

  54(b) is not applicable, because the final judgment disposed of all the issues pending before the

  bankruptcy court.

         WHEREFORE, for the reasons set forth, NLG respectfully requests that the Court grant

  of relief from its Order dismissing the appeal [ECF No. 74]; or in the alternative, grant leave to

  appeal and reinstate the instant appeal.

         Dated September 24, 2018.

                                               Respectfully submitted,
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of foregoing was served via CM/ECF,
  email or U.S. Mail to the parties on the attached service list as indicated on this 24th day of
  September 2018.

                                               /s/ Astrid E. Gabbe
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